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OAO 245C (Rev. 06/05) Amended Judgment in a Criminal Case                                                                     (NOTE: Identify Changes with Asterisks (*))
         Sheet 1


                                             UNITED STATES DISTRICT COURT
                                                                               District of
           UNITED STATES OF AMERICA                                                      AMENDED JUDGMENT IN A CRIMINAL CASE
                                 V.
      3) REYNALDO GONZALEZ-RIVERA                                                        Case Number:         3:03-CR-220-03 (CCC)
                                                                                         USM Number:          26497-069
Date of Original Judgment: 4/5/2005                                                      Carlos Vazquez-Alvarez, Esq.
(Or Date of Last Amended Judgment)                                                       Defendant’s Attorney
Reason for Amendment:
x Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                        G   Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                         G   Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                                Compelling Reasons (18 U.S.C. § 3582(c)(1))
G   Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))                  G   Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
G   Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
                                                                                             to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                         G   Direct Motion to District Court Pursuant   G   28 U.S.C. § 2255 or
                                                                                             G 18 U.S.C. § 3559(c)(7)
                                                                                         G   Modification of Restitution Order (18 U.S.C. § 3664)

THE DEFENDANT:
G    pleaded guilty to count(s)
G    pleaded nolo contendere to count(s)
     which was accepted by the court.
X    was found guilty on count(s)           One (1), and, Two (2) on April 22, 2004
     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                       Nature of Offense                                                                   Offense Ended                  Count
21:841(a)(1) and 18:2                 Possession with intent to distribute cocaine, and aiding and                           8/27/03                One and Two
                                      abetting.




       The defendant is sentenced as provided in pages 2                                            of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G    The defendant has been found not guilty on count(s)
G    Count(s)                                                   G       is   G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                         August 1, 2007
                                                                                         Date of Imposition of Judgment


                                                                                         S/ CARMEN CONSUELO CEREZO
                                                                                         Signature of Judge
                                                                                         CARMEN CONSUELO CEREZO, U.S. DISTRICT JUDGE
                                                                                         Name and Title of Judge

                                                                                         August 1, 2007
                                                                                         Date
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AO 245C       (Rev. 06/05) Amended Judgment in a Criminal Case
              Sheet 3 — Supervised Release                                                                 (NOTE: Identify Changes with Asterisks (*))

                                                                                                      Judgment — Page       2       of         4
DEFENDANT:                   REINALDO GONZALEZ-RIVERA
CASE NUMBER:                 03-CR-220-03 (CCC)

                                                                 IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
                  ***262 MONTHS as to count One and 240 MONTHS as to count Two,
                  to be served concurrently with each other.***

    X   The court makes the following recommendations to the Bureau of Prisons:

        It is recommended that defendant participate in drug rehabilitation and vocational training programs.




    X   The defendant is remanded to the custody of the United States Marshal.

    G   The defendant shall surrender to the United States Marshal for this district:

        G    on                                                                                                                 .

        G    as notified by the United States Marshal.

    G   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

        G    before 2 p.m. on                                             .

        G    as notified by the United States Marshal.

        G    as notified by the Probation or Pretrial Services Office.



                                                                   RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                            to

a                                                    , with a certified copy of this judgment.




                                                                                                    UNITED STATES MARSHAL


                                                                              By
                                                                                                 DEPUTY UNITED STATES MARSHAL
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AO 245C       (Rev. 06/05) Amended Judgment in a Criminal Case
              Sheet 3 — Supervised Release                                                              (NOTE: Identify Changes with Asterisks (*))
                                                                                                           Judgment—Page        3      of         4
DEFENDANT:                     REINALDO GONZALEZ-RIVERA
CASE NUMBER:                   03-CR-220-03 (CCC)
                                                             SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :
                                  FIVE YEARS as to count one and THREE YEARS as to count two,
                                  to be served concurrently with each other.


     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment.
G        The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
X        The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)
G        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement.
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AO 245C    (Rev. 06/05) Amended Judgment in a Criminal Case
           Sheet 3A — Supervised Release                                                       (NOTE: Identify Changes with Asterisks (*))
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DEFENDANT:                REINALDO GONZALEZ-RIVERA
CASE NUMBER:              03-CR-220-03 (CCC)

                                          ADDITIONAL SUPERVISED RELEASE TERMS


   The defendant shall not unlawfully possess controlled substances, shall refrain from the unlawful use of controlled substances/alcohol,
and shall submit to a drug/alcohol test within fifteen (15) days of release. Thereafter, defendant shall submit to random testing not to
exceed 104 samples per year in accordance with the Drug Aftercare Program Policy adopted by the Court. If any such samples detect
substance abuse, defendant shall participate in a substance abuse treatment program arranged by the U.S. Probation Officer until duly
discharged by the Court. The defendant is required to contribute to the cost of services rendered (co-payment) based on the ability to pay
or availability of third party payments, as approved by the court.
   The defendant shall participate in a vocational training and/or job placement program recommended by the U.S. Probation Officer.
   The defendant shall provide the U.S. Probation Officer access to any financial information, upon request.
   The defendant shall submit his person, residence, office or vehicle to a search conducted by a United States Probation Officer at a
reasonable time and in a reasonable manner based upon reasonable suspicion of contraband or evidence of a violation of a condition of
release. Failure to submit to a search may be grounds for revocation. Defendant shall warn any other residents that the premises may be
subject to searched pursuant to this condition.
   Pursuant to the Revised DNA Collection Requirements Under Section 203 of the Justice for All Act of 2004 (Public Law 108-405 of
October 30, 2004), which amends Title 42, U.S. Code § 14135a(d)(1), and Title 18, U.S. Code §3563(a)(9), defendant shall cooperate in
the collection of a DNA sample as directed by the U.S. Probation Officer.
  Having considered defendant’s financial condition, the Court finds that he does not have the ability to pay a fine.
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AO 245C   (Rev. 06/05) Amended Judgment in a Criminal Case
          Sheet 5 — Criminal Monetary Penalties                                                (NOTE: Identify Changes with Asterisks (*))
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DEFENDANT:                       REINALDO GONZALEZ-RIVERA
CASE NUMBER:                     03-CR-220-03 (CCC)

                                               CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment                                         Fine                          Restitution
TOTALS           $ 100.00 as to each count                           $ NONE                        $ NONE
                  for a total of $200

G The determination of restitution is deferred                   . An Amended Judgment in a Criminal Case (AO 245C) will be
  after such determination.

G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
     otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
     victims must be paid before the United States is paid.

Name of Payee                               Total Loss*                      Restitution Ordered                 Priority or Percentage




TOTALS                             $                                     $


G    Restitution amount ordered pursuant to plea

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest and it is ordered that:
     G the interest requirement is waived for                G fin    G restitution.
     G the interest requirement for              G    fine    G restitution is modified as follows:
